Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 1 of 19

RONALD WATSON —s_
3456 N HOPE STREET ‘
PHILADELPHIA PA 19140
Primary Phone: 215-279-7150
Cell Phone: 267-319-5452

Email; Rwatson59@comeast.net

Stwane

OBJECTIVE: Using my sldlls and experience in building trades, I would Like to find a position as‘a goneral laborer
‘where J will complete projects safely aud efficlently according to standards,

SUMMARY :

+ US Army Veteran

+ Experienced in a variety of areas
+ Excellent communication skills

+ Willing to work ‘flexible schedule

EXPERTENCE
Self - Philadelphia, PA ' 10/01/2013 - SN Working
Home Maintenance Laborer ‘ .
Performed installations, repairs and general maintenance work for home owners. Met with customers to determine
their renovation needs, Determined materials; provided cost estimates; purchased materials: Made repairs to
bathrooms, Kitchens and basements, Performed finished carpentry including window and door installation, Also
installed and repaired receptacles and fixtures. Followed local,code and safety regulations, Maintained financial
records for business, .

A & R Metals - Fairless Hills, PA 04/01/2013 - 10/01/2013

Metal Extractor

Utilized screw drivers, drills, hammers and other hand tools to extract metals from electronic equipment such as cell
phones and computers for recycling and reprocessing, Broke dowa and separated materlals and located to appropriate
areas, Maintained clean work area, free of debris, Handled hazardous materials safely in'accordance with OSHA
standards, .

Alpha Source - Philadelphia, PA 10/01/2011 - 04/01/2012

Shipping and Receiving Clerk .

Operated clamp forkl}fts to move cases of cleaning products throughout a warehouse, Loaded and unloaded trucks.
Placed merchandise ip appropriate areas, Labeled shipments,

Transcontinental Direct - Warminster, PA 07/01/2008 - 05/01/2009
Machine Operator
Observed machine operations to ensure quality and conformity, Adjusted machine components, tension and pressure

malfunctions ocoutred, Clear any jams and reported malfunctions to supervisor. Secured finished packuged items by
hand, gluing, stapling, or attaching fasteners, Stocked and sorted product for packaging or filling machine operation,
Replenished packaging supplies, Inspected finished products for quality control.

Davis Company - Philadelphia, PA , 03/01/2007 - 07/01/2008

Forklift Operator
-Using forklift to retrieve boxed.paper products, transferred materials to be staged at warehouse bay door locations,
Used cherry'picker, elevator fork lift, pallet jacks and stand-up or sit-down forklifts to transfer producty, Also
unloaded shipments, Examined records such as manifests, invoices or orders to verify accuracy of imcoming and
outgoing loads, Prepared documents to route materjals properly,

Communicated with supervisors to rectlfy any problems such as damages, shortages, and nonconformance to

ExHipiT D-1
Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 2 of 19

specifications,

A ! . Nowe”
A&S Manufacturing - Philadelphia, PA 1/01/2004 - 12/01/2006
Machine Operator cS
Operated and set dies in presses to manufacture assorted parts such as funuture vomponsnts and cable boxes, Formed
materials to Include steel copper, aluminum and-brass, Maintained cleanliness and safoty of environment, Practiced
quality control and inaintained tolerance to specifications, ,

Axclom Mailing Services ~ Philadelphia, PA , 01/01/1999 « 01/01/2004
Material Handler

- Operated fork lifts to move mail from four-story racks to appropriate locations within a Post Office warehouse to be
processed and sorted, ‘

Pep Boys - Philadelphia, PA 01/01/1993 - 10/01/1999
Installer

installed tires of varying size on light trucks and automobiles, Also changed oil and other fluids and installed lights
on vehicles, Maintained a clean workplace,

Pinkerton Security - PhiJadelphia, PA 06/01/1989 ~ 05/01/1992
Security Guard

Provided security at various sites such as hospitals.and construction sites to ‘protect personnel, visitors, materials and
facilities, Patrolled areas by fdot to cusure that buildings, windows and doors were locked. Wrote Up reports on a
daily basis. Communicated with supervisors to report any problems or potential issues,

Computer Transport ~ Thorofare, NJ 03/01/1983 - 12/01/1987

Truck Driver .

Operated a straight truck to deliver commercial copiers and computers to business throughout tri-state area, Loaded
and unloaded trucks using pallet jacks and fork lifts, Checked paperwork and inventories to ensure that customer
orders were accurate, Trained’ and mentored new employees,.Processed orders safely and efficiently,

MILITARY HISTORY
Army
Honorable a ,
Army Personne! Clerk: Responsible for updating military records, awards, transfers, promotions and other categories,
Originated and prepared correspondence, recelved and sent official mail. Responsible for other comiraunications
including telephones, Performed most administrative and office functions,

EDUCATION

Delaware Valley Trade Schoo)
Philadslphie, Pennsylvania

Vocational/Technica] Certificate

CERTIFICATIONS AND LICENSES
Forklift Operator issued by Modern
Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 3 of 19

 

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sex, religion, handicap or natlonal origin. _
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College
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Job Related Skills (computer, driver's lleense certifications, etc.)

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Form M660-26NR RV (1998) EXHIBIT Vek

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Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 4 of 19

 

 

EMPLOYMENT HISTORY ist below jour last four employers, starting with the last one first.

Date ° Phone Salary
Month and Year Name and Address of Emptoyer Number Supervisor (upon leaving)

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REFERENCES tlst betow three persons not related to you, whom you have known at least one year,

 

 

 

 

 

 

 

 

 

 

Name | Address " none Position Ace ear e
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3 bal BE Woes 241o Wicholac st Mulabee7- S2e-Ysayl erite LS

’ If you are to be hired by the company, you will be required to attest to your Identlty and employment eligibility, and to present docume:
confirming your Identity and employment ellgiblilty. You cannot be hired If you cannot comply with these requirements.

‘ AUTHORIZATION

I certity thal the facts contained In this application (and accompanying resume, If any) ara true and complete to the best of my knowledge. | underst:
Ahat ahy false statement, omission, or misrepresentatlon on thls application Is suffictent cause for refusal to hire, or dismissal If | have been employed,
matter when discovered by the Company, ,

j understand that any employment Is conditioned on a background check, | authorize the Company to thoroughly Investigate all statements containec
. my application or resume, and | authorize my former employers and references to disclose Informatlon regarding my former ernployment, character <
general reputation to the Company, without giving me prior notice of such disclosure. In adkiltlon, | release the Company, any former employers anc
references listed-above from any and_all claims, demands or Ilabltitles,di|ging out of or related to such Investigation or disclosure.

| understand and agree that nothing contalned In this application,-or conveyed during any Interview, Is Intencied to create an employm:
contract. | further understand and agree that If | am hired, my employment will be “at wlll” and without fixed term, and may be termina!
‘at any tlme, with or without cause and without prior notice, at the option of elther myself or the Company. No promises regarding employm:
‘have been made to me, and | understand that.no such promise, or guaranties Is. binding.upon the Company unless: made In writing by
- authorized Company representative. . . , . so

If lam offered employment | agree ta submit to a medical examination and drug test, If required, before starting work. If employed!, | alsa agree to submi
_a medical examination or drug test at any time deemed appropriate by the Company and as permitted by law, | consent to such examinations and te:
and | request that the examining doctor disclose to the Company the results of the examination, which results shall remaln contidentlal and segregated fr
my personnel file, | understand that my employment or continued employrnent, to the extent permitted by law, Is contingent upon satisfactory medi
examinations and drug test, If required, ahd If | am hired a condition of my employment will be that | ablde by the Company's Drug and Alcohol! Poi

_ Lunderstand that acceptance of this form does not indicate there Is a position open and does not obligate the Company to hire, If hired, | agree to ab
‘by all Company work rules, policies and procedures, The.Company retains the right to, revise Its polices or.procedures, In whole or In part, at any tir

ied .

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(Date {2—-/- [4 - _ Signeture

  
Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 5 of 19

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Soe LLOYD INDUSTRIBS INC. \
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Remit: 241 Commerce Dr. 138 Industrial Loop West \u" " Ae!

Munigomeryville, PA 18936 Orange Park, FL 32073 . iY
(20%) aL Del © Bax (215) 413-4409 (904) 541-1655 + Fax (904) 541-1657 1°

conn: Hoydind @ firedumpeccom e-mail: Hoydind! @ bellsouth. net
www. liredimperncon www. firedamper.com

Employee Separation Notice

Employee Name: R ONALD Wwatsan
Separation Date: {O- %%-tor-S Last day worked: (y-~@- test

_ Please Note: This information will be used for unemployment purposes to determine the employee's eligibility for

benefits.

© VOLUNTARY QUIT

In writing? CQ YES CQNO Notice given? OYES ONO if yes how much?

O No call No show © to accept other work © to look for a new job
© Dissatisfied with job © Retirement © Personal reasons
© Injury or illness © Personal reasons O Incarceration

Any additional Comments: Z Ay of F
© TERMINATION

Name of person who discharged employee?7_

List prior warning date(s) C) None © Verbal O Written_
© Dishonesty © Intoxication ©) Falsification of Applicant
© Unable to provide 19 Documentation © Excessive unexcused absences or tardiness

QO Violation of Company Rules (give policy/rule)

 

© Failure to return from leave or vacation: Date due to retum
© Unsatisfactory Performance Willing but Unable
© Unsatisfactory Performance, Intentional (had shown ability)

@Tack of work © Temporary © Permanent

Person filling out this form: 7 O pey PR Et peRGAST

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Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 6 of 19

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Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 7 of 19

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} Tom Prendergast

 

From: Fred Braker (fbraker@LU19,com)
Sent: Thursday, August 11, 2016 10:17 AM
To: Lioyd ind

Subject: Ron Watson

Tom I met with Ron at my office after his lay off and researched that he was with the lowest seniority therefore
there was nothing we could do as Lloyd industries was following our cba

Sent from I phone

Fred N. Braker
Business Representative
Sheet Metal Workers
Local Union No.19

(215)952-1999, fax (215)952-0250
email fbraker@lul9.com

No virus found in this message.
Checked by AVG - www.avg.com
Version: 2015.0.6201 / Virus Database: 4633/12791 - Release Date: 08/11/16

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Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 9 of 19

Ww AUTHORIZATION  -~.
ORK ASSESSMENT-SERVICE FEE-UNION DUES
SHEET METAL WORKERS’ INTERNATIONAL ASSN. LOCAL 19

To My Employer, i
ly Employer, who Is parly to collective bargaining agreement with the Sheel Metal Worlters' international Assoctatton Local Union No. 19:

thereby assign to &
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No. lot 4 " 1 | ' |ars’ international Assoclation

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1 be sf lve end cannot ig ir un

| 4 fect be cancelled for a pertod of ono (1) year trom the date appearing bolow a: tu
the tarminatlon date of the current collective bargaining agreement between the Company and the Union, whichever occurs sooner

At thal lime itm
slo lo expla oy or the one ti written notice given by me to my Emptoyer and the Local No. 19, at any time during the period of ten (10) d
gar period of the present agreement, whichever Is sooner. ff no such notice is given this authorization shall ba

irravocable for Bon. perlods of one (1) year heraatter with the same revocation at the end of each such pericd.
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Signature Xf Ce LA li Tedagan Nate Lo / G L Zz WUD Membership #

Name (print)

 

        
 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

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AUTHORIZATION CARD
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19. ‘ rb ouhorizs i Shesypova of colocve borgaining in motters of wages, hours and other terms
and conditions of employment, with my curreal employer, as well as all other employers for whore may
have worked In the past or for whom | may become employed ofler this dole, on al) present and lulure
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11. RELATIONSHIP TO EMPLOYEE (> (OUS&
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EMPLOYEE'S SIGNATURE 2 f tor DATE — J

 

 

ENRAII MENT RECORD CARD Bitog SASMI-II TRUST FUND |
Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 10 of 19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PA Employees FL Emplyees

Karen Ferguson white Bali , Justin White
Eileen Lindsay white Brundage, Paul White
William P Lloyd white Cua, Jonathan Asian
Kristin Loudenslager white Davis, Thomas White
Christina "Tia" Pauzino white Diaz, Juan Hispanic
Thomas Prendergast white Flores, Phillip Guam
William Riggs white Green, Antwan Black
Patrick Sharkey white Guanipa, Maximiliano Hispanic
Stephanie Zitkus white Gutting, Alfred Filiptno
Fidel Argeta hispanic Lewis, Robert Black
Gerbert Ayala hispanic Lott, Jadon Black
Chris Griffin white McElwain, Harold D, White
Jose Remberto Guevara hispanic Murphy, Tammy White
Peter Hulayew white Perry, Carl White
Guillermo Lopez hispanic Poland, John White
Jorge Lopez hispanic Ramirez, Lefner Hispanic
Thomas Malone white Retjos, Athan (Paul) - Hispanic
Edward Mower white Ricks, Joe Black
Russell Murphy white Starling, James White
Feliks Rappoport white Thomas, Larry White
Santos R Reyes Zavala hispanic Thomas, Richard White
Raul Rosalez Villarreal! hispanic Wagner, Terry White
Francisco Torres Martinez hispanic Washington, Reinoldo Black
Brayan Antonio Ayala hispanic White, Anthony Black
Blake Boyer white White, Gregory Black
Richard Boyer white Widemond, Anthony Black
Nguyen Can Vietnamese

Cruz-Melendez, Edwin hispanic

Eugene (Gene) Dionisio white

Frank Fadule white

William Ford white 7
Robert Gans white

Fellx Granados hispanic

Stephen Gress white

Martin Guillen hispanic

Timothy Helsler white

Fredy Hernandez hispanic

Jose Hernandez Perez hispanic

Tam Van Huynh Vietnamese

Nathan Kushnir white

Dung Le Vietnamese

Hoang Le Vietnamese

Minh Le __ Vietnamese
Necument 36 Filed 01/22/19 Page 11 of 19

 

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Jeffrey Llo white
Nataneal Martinez hispanic
Victor Martinez hispanic
Jose Morales hispanic
Tuan Nguyen Vietnamese
Trancito Ortez-Ortiz hispanic
Dulip Patteram Pakistani
Romeo Perez Diaz hispanic
Thai Van Pham Vietnamese
Jose Martir Ramirez Hernandez hispanic
Jose Rodriguez Marquez hispanic
Frederick Roth white
Angel A Saravia Martinez hispanic
Rene Santos Saravia Martinez hispanic
Hau Tran Vietnamese
Ryan Tran Vietnamese
Mike Trinh Vietnamese
Axel J Valles Rosario hispanic
Jhonny Vasquez hispanic
Tivurclo Villarreal Flores hispanic
Minh Vo Vietnamese
James Welshew Jr white
Eugene Wohlfhart white
Mauricio Zavala hispanic

 

Jesse Zitkus

 

 

white

 

 

 

 

 
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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Pennsylvania

RONALD WATSON
Plaintiff

v. Civil Action No. 17-1049
LLOYD INDUSTRIES, INC.
Defendant

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SUMMONS IN A CIVIL ACTION = 3

To: (Defendant's name and addresy) . U 2

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Flo Tinghutee ES, Tine. “3

23ST Commerce “Dornve. WW ys
Momdomery inthe, DA 292,

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. -
P, 12 (a)(2) or (3) —— you must serve on the plaintil an answer to the atlached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are: ‘

SAMUEL A. DION, ESO,
1845 WALNUT ST., STE. 1199

PHILA., PA 19103

IF you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint. You
must file your answer or motion with the court.

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Date: 3/8/17 \ ~

PATRICIA A. JONES, ae Clerk

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13 of 19
Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page
8 Govamng CIVIL COVER SHEET

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provided by. foval rules of court. ‘This form, approved by the Judiclal Conference of the Inited States in September 1974, is required for the use of the Clore af Court for the
Purpose of (HB INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

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Ranald Watson Lloyd Industries, Inc,

(b) County of Residence of First Lisied Plaintiff Philadelphia County uf Residence of First Listed Defendant _Montg omery
(AXCBPYINULS. PLAINTI! CASHES) (INS. PLAINTIFF CASRS ON, AY)

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(¢) Attorneys.¢Firm Nowe, Address, and Telephone Muruber) Attorneys (if Known)
Samuel A, Dion, Esq., Dion & Goldberger
1845 Walnut Street, Suite 1199, Philadeiphia, PA 19103

 

 

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Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 14 of 1

IN THE UNITED STATES DISTRICT COURT
FOR TEE RASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMUNT TRACK DESIGNATION FORM
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v. ;
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designation, that efendant shall, with its first eppeatance, submit to the clerk of court and serve on
the plaintiff and all other patties, a Case Management Track Designation Form Specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus ~ Cases bronght under 28 U.S.C, § 2241 through § 2255. ()

(b) Social Security ~ Cases requesting review of a decision of the Secretary of Health
and Ffuman Services denying plaintiff Social Security Benefits. ()

(c) Arbitration — Cases Tequired to be designated for atbitration under Local Civil Rule 53.2. ( )

(@) Asbestos — Cages involving claims for personal injury or ptoperty damage from
exposure to asbestos, ()
(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need Special or intense management by
the court, (See reverse side of this form for a detailed explanation of special

inanagement cases. ( )
(2) Standard Management — Caseg that do not fall into any one of the other tracks, of.

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Date oo Attorney-at-law Attorney for
215-546-6033 415-546-6269 samueldion@aol.com
Telephone PAX Number E-Mail Adaress

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Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 15 of 19

  

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RONALD WATSON

 

 

 

: No.
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VS. : 44 1049
: JURY TRIAL DEMANDED
LLOYD INDUSTRIES, INC,
COMPLAINT “Up
COMES NOW,

Plaintife£,

by counsel,
defendant as follows:

Pop

and complains of

JURISDICTION
1.

This Court has jurisdiction over this matter pursuant
to the 42 U.S.c

Section 2000(e) et seq. of the Civil Rights Act
of 1964 as amended,

This Complaint has been filed within 90

days after issuance of a Notice of Right to Sue by the Eroc.

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PARTIES co
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Evng
Nr
resides at 1500 Bast Washington Lane, Philadelphia, PA 19€38

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Plaintiff, Ronald Watson, is an adult individua

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3. Plaintiff's race is Bla¢k.

The defendant, Lloyd Industries, Inc., is a

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corporation registered in the Commonwealth of Pennsylvania with
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Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 16 of 19

a place of business located at 231 Commerce Drive,
Montgomeryville, PA 18936,

5. Defendant employs more than 100 people.

FACTS

6. Plaintiff was first hired by defendant on or about
December 1, 2014 as a Machinist.

7, At all times material hereto, plaintiff was only one of
two Black Machinists employed by the defendant—the other being
Shawn Broadnax.

8. At all times material hereto, plaintiff was qualified
for the Machinist position and performed his job in a
satisfactory manner.

9. In fact, plaintiff has fifteen (15) years experience as
a Machinist.

10. Plaintiff’s supervisors included Tom Pendergast
(Caucasian Plant Manager) who was first hired by defendant about
two months before plaintiff's termination.

ll. Plaintiff did not receive any discipline during the
course of his employment.

12. On October 29, 2015, Mr. Pendergast called plaintiff
into his office and notified plaintife that he was being “laid

off.”
Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 17 of 19

13. Plaintiff asked mr. Pendergast why he was being laid
off, and Mr, Pendergast responded: “Because I can.”

14, Despite his claim that plaintiff was laid off, Mr.
Pendergast offered plaintiff’s union representative a different
reason for plaintiff's separation from employment, which was
that he was terminated, because he purportedly left work early
on two occasions. —

15. Both of Mr, Pendergast’s purported reason for
plaintiff’s separation from employment were untrue.

16. Mr. Broadnax, the only other Black Machinist employed
by defendant, was also let go in November 2015.

17. Had a layoff been truly necessary, based upon the
union contract, Machinists must be terminated based upon
seniority.

18. For this teason, Mr. Pendergast falsely alleged to the
union that plaintiff was terminated for purportedly leaving work
early on two occasions,

19... Furthermore, a White male Machinist (name unknown)
with blond hair and blue eyes and a handlebar moustache (about
30-35 years old) and who owned a black Scion, had less seniority
than plaintiff, but was retained by defendant and Mr.

Pendergast.
Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 18 of 19

20. Based upon information and belief, Plaintiff wag
replaced with a less qualified White person previously described

above,

21. The true reason for plaintiff's termination was
because he is Black.

22. At all times material hereto, defendant acted through
its employees who had authority to hire, discipline and fire.

23. Defendant’s employees and/or agents intentionally
treated plaintiff ina disparate manner and terminated plaintiff
because of his race and color,

24. Plaintiff sustained damages as a result of the

unlawful conduct of defendant.

COUNT 1- Race Discrimination
25. Plaintifg¢ repeats paragraphs 1-24 as if more fully set
forth herein,
26. By and through its conduct, defendant violated the
Title VII, by intentionally discriminating against PlaintifE by

terminating his employment because of his race and color.

COUNT 2- Race Discrimination
27. Plaintiff repeats paragraphs 1-26 as if more fully set

forth herein,
Case 2:17-cv-01049-MMB Document 36 Filed 01/22/19 Page 19 of 19

28, By and through its conduct, Defendant violated 42 use
Section 1981 et Seq. of the Civil Rights Act of 1866 as amended,
by intentionally discriminating against plaintiff by terminating

his employment because of his race and color.

WHEREFORE, Plaintiff demands judgment against defendant and
damages in an amount to be determined by a jury For pain and
suffering, emotional distress, mental anguish, harm to
reputation, lost income, punitive damages, costs, reasonable

attorney's fees, and such other relief as the Court deems just

Ie,

Samuel A. Dion, sq.
Signature Code; S$ap2282
Dion & Goldberger

1845 Walnut Street
Suite 1199
Philadelphia, PA 19103
215-546-6033 (tel)
215-546-6269 (fax)
samueldion@aol. com

and fair,
